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         Exhibit B
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From: "Reiter, Mark" <MReiter@gibsondunn.com>
Subject: Re: Proven Networks v. HPE / Aruba
Date: October 2, 2020 at 1:15:34 PM PDT
To: Paul Kroeger <pkroeger@raklaw.com>
Cc: "Morgan, Ashbey" <ANMorgan@gibsondunn.com>, Reza Mirzaie
<rmirzaie@raklaw.com>

Paul,

Thank you for your email Defendants cannot agree to your proposal.


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Best regards,

Mark

Mark Reiter

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
2001 Ross Avenue, Suite 2100, Dallas, TX 75201
Tel +1 214.698.3360 • Fax +1 214.571.2907
MReiter@gibsondunn.com • www.gibsondunn.com

From: Paul Kroeger <pkroeger@raklaw.com>
Date: Tuesday, September 29, 2020 at 2:57 PM
To: Mark Reiter <MReiter@gibsondunn.com>
Cc: Ashbey Morgan* <ANMorgan@gibsondunn.com>, Reza Mirzaie
<rmirzaie@raklaw.com>
Subject: Re: Proven Networks v. HPE / Aruba

[External Email]
Mark,

Although Proven disagrees with your contention re venue, and continues to
believe that venue in W.D. Tex. is proper based on the publicly available
information and, especially, your unwillingness to allow the veracity of the
purported declarations to be tested by deposition, nonetheless, in the interest
of compromise, Proven would consider transferring the complaint against Aruba
only to N.D. Cal.

The complaint against HPE should remain in W.D. Tex. None of your prior
motions have made any attempt to show or claim that venue as to HPE (in either
ED Tex or WD Tex) is improper. Moreover, they have made no attempt to show
that W.D. Tex is not a convenient form for HPE. We believe that HPE’s 12(b)(6)
motion to the first amended should be judged on its merits and, if denied (as
we believe it will), that case should remain pending in WD Tex.

Please advise as to your position.

Thanks,




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     On Sep 24, 2020, at 1:04 PM, Reiter, Mark <MReiter@gibsondunn.com> wrote:

     Paul,

     As explained in the renewed moSon to dismiss ﬁled yesterday,
     Defendants do not believe that Proven has demonstrated a basis for the
     requested discovery. I sent you a leXer last week asking Proven to
     dismiss its claims, or, alternaSvely, agree to transfer the case to ND
     California. I did not receive a response. If Proven has any basis to
     support a request for discovery, I would of course review. As stated in my
     leXer, to avoid further brieﬁng in WD Texas, Defendants remain
     amenable to an agreed transfer to ND California.

     Best regards,

     Mark


     Mark Reiter




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 Gibson, Dunn & Crutcher LLP
 2001 Ross Avenue, Suite 2100, Dallas, TX 75201
 Tel +1 214.698.3360 • Fax +1 214.571.2907
 MReiter@gibsondunn.com • www.gibsondunn.com

 From: Paul Kroeger <pkroeger@raklaw.com>
 Date: Wednesday, September 23, 2020 at 1:32 PM
 To: Mark Reiter <MReiter@gibsondunn.com>
 Cc: Ashbey Morgan* <ANMorgan@gibsondunn.com>, Reza Mirzaie
 <rmirzaie@raklaw.com>
 Subject: Re: Proven Networks v. HPE / Aruba

 [External Email]
 Mark,

 With regard to your newly-ﬁled moSon to dismiss, we, once again, ask that
 Defendants comply with their discovery obligaSons and make their declarants
 available for short two-hour deposiSons. As I assume your willingness to make the
 declarants available to test the veracity of their aXorney-prepared declaraSons has
 not changed, please conﬁrm so we can so advise the Court.

 Thanks,



 <image001.jpg>


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     On Sep 4, 2020, at 6:11 PM, Reiter, Mark
     <MReiter@gibsondunn.com> wrote:

     Paul,

     Thank you for your email. Based on the informaSon provided,
     Defendants do not agree to the requested discovery. If Proven
     Networks has addiSonal informaSon that calls into quesSon the
     informaSon provided in the declaraSons and supports the
     requested discovery, we ask that you share it. Defendants
     commit to promptly reviewing the informaSon and advising
     whether our posiSon has changed.

     Best regards,

     Mark

     Mark Reiter

     GIBSON DUNN
     Gibson, Dunn & Crutcher LLP
     2001 Ross Avenue, Suite 2100, Dallas, TX 75201
     Tel +1 214.698.3360 • Fax +1 214.571.2907
     MReiter@gibsondunn.com • www.gibsondunn.com




     From: Paul Kroeger <pkroeger@raklaw.com>
     Sent: Friday, September 4, 2020 12:26 PM
     To: Reiter, Mark
     Cc: Morgan, Ashbey; Reza Mirzaie
     Subject: Re: Proven Networks v. HPE / Aruba

     [External Email]
     Mark,

     Proven did perform a reasonable invesSgaSon as to venue before
     ﬁling suit. The request for venue discovery was made because the




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     declaraSons you submiXed, under penalty of perjury, conﬂict
     with the results of that informaSon. For example, that Aruba has
     an oﬃce in San Antonio came from, among other places, the
     aXached website. hXps://crar.co/aruba-networks/locaSons.

     Your apparent contenSon that we have to demonstrate that
     Messers. Adjali and Taylor, both Aruba employees, submiXed
     false statements, before being able to take venue discovery is
     contrary to the law which freely allows such discovery. See, e.g.,
     Uniloc 2017 LLC v. Riot Games, Inc., 2020 WL 1158611, *3 (E.D.
     Tex. 2020); Ultravision Technologies, LLC v. Govision, LLC, 2020
     WL 896767, *2 (E.D. Tex. 2020), report and recommendaSon
     adopted,
     2020 WL 887754 (E.D. Tex. 2020).

     The fact that you deemed it necessary to provide declaraSon
     supporSng your moSon only further supports why discovery is
     proper in this circumstance. And, in any event, our request for
     discovery was reasonable and narrow under the circumstances.
     We ask you to please reconsider the request. If you will not do so,
     we will use your refusal to request that the Court deny your
     moSon.

     Thanks,


     <image001.jpg>


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          On Sep 4, 2020, at 7:18 AM, Reiter, Mark
          <MReiter@gibsondunn.com> wrote:

          Paul,

          We are in receipt of your email requesSng venue
          discovery before Proven Networks ﬁles its
          response to HPE/Aruba’s moSon to dismiss. To
          help us evaluate your request, please explain why
          Proven Networks believes discovery is warranted.

          Proven Networks bears the burden of establishing
          venue, and thus it was Proven Network’s
          obligaSon—before ﬁling the complaint—to
          perform a reasonable invesSgaSon and collect
          facts that support venue. It appears Proven
          Networks, both in ED Texas and in the current
          case, did no such thing. Proven Networks’ iniSal
          allegaSon of a “shared oﬃce” in Plano, Texas and
          more recent allegaSon of an Aruba San Antonio
          oﬃce, without citaSon to any supporSng
          evidence, were both wrong. To the extent Proven
          Networks has some basis to assert that Messrs.
          Adjali and Taylor erred in their sworn statements,
          or that addiSonal informaSon would support
          venue, please idenSfy that basis and anScipated,
          addiSonal informaSon.

          We look forward to your response and will
          respond promptly arer having had an opportunity
          to consider the response.

          Best regards,

          Mark


          Mark Reiter




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          GIBSON DUNN
          Gibson, Dunn & Crutcher LLP
          2001 Ross Avenue, Suite 2100, Dallas, TX 75201
          Tel +1 214.698.3360 • Fax +1 214.571.2907
          MReiter@gibsondunn.com • www.gibsondunn.com

          From: Paul Kroeger <pkroeger@raklaw.com>
          Date: Thursday, September 3, 2020 at 1:01 PM
          To: Mark Reiter <MReiter@gibsondunn.com>,
          Ashbey Morgan* <ANMorgan@gibsondunn.com>
          Cc: Reza Mirzaie <rmirzaie@raklaw.com>
          Subject: Proven Networks v. HPE / Aruba

          [External Email]
          Counsel,

          With regard to the moSon to dismiss and/or transfer
          ﬁled by HPE and Aruba, we request jurisdicSonal
          discovery before ﬁling our opposiSon. Speciﬁcally, we
          request a short 2-3 hour (Zoom) deposiSon of earth of
          Madani Adjali and William Taylor related to the contents
          of their declaraSons. We also request a three-week
          extension of Sme for our opposiSon to accommodate
          the deposiSons and the preparaSon of the transcripts
          prior to its ﬁling.

          Please advise if you are in agreement to the above.
          Otherwise, please provide your availability for a meet
          and confer.

          Thanks,

          <image001.jpg>


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